              UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRIC OF FLORIDA
                   PENSACOLA DIVISION




EMILY LEY PAPER, INC.,
d/b/a SIMPLIFIED, et al.,

     Plaintiffs,
                              No. 3:25-cv-464-TKW-ZCB
v.
                              Judge T. Kent Wetherell II
DONALD J. TRUMP, et al.,

     Defendants.




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               IN SUPPORT OF PLAINTIFFS
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             IDENTITY AND INTEREST OF AMICUS CURIAE1

      The Cato Institute is a nonpartisan public policy research foundation founded

in 1977 and dedicated to advancing the principles of individual liberty, free markets,

and limited government. Toward that end, Cato’s Robert A. Levy Center for

Constitutional Studies publishes books and studies about legal issues, conducts

conferences, produces the annual Cato Institute Supreme Court Review, and files

amicus briefs.

      Cato Institute scholars have published extensive research on regulation and

constitutional law. This case interests the Cato Institute because it concerns the

legality of a contested exercise of executive power that threatens the separation of

powers and economic liberty.




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  No party’s counsel authored this brief in whole or part, and no party or party’s
counsel made a monetary contribution to fund preparation or submission of this
brief.

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            INTRODUCTION AND SUMMARY OF ARGUMENT

      Soon after taking office, President Trump issued a series of executive orders

and proclamations imposing tariffs on imports from dozens of countries. These

actions, interspersed with negotiations with and responses from some of those

countries, resulted in rapid increases and (partial) decreases in tariff rates. See Pl.

Amend. Compl. 15–22. Presently, the President has imposed a 10% tariff on most

trading partners, and imports from China are singled out with a combined tariff rate

of 145%. Id. at 20–22. Notably, the President’s orders cite the International

Emergency Economic Powers Act of 1977, 50 U.S.C. § 1701 et seq. (“IEEPA”), as

a statutory basis for the President’s unilateral imposition of additional—and

fluctuating—tariffs.

      IEEPA grants the President broad authority to block transactions involving

Americans and foreign nationals, see id. § 1702, and the law is frequently used by

Presidents to impose economic sanctions on nations and foreign citizens. But the

statute explicitly limits this authority to situations involving “an unusual and

extraordinary threat” for which “a national emergency has been declared for

purposes of this chapter,” and the law provides that these powers “may not be

exercised for any other purpose.” Id. § 1701(b).

      The President’s novel tariffs, purportedly imposed to combat illegal drug

operations, have inflicted significant costs on thousands of American business


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owners who rely on imports. Simplified and other plaintiffs have sued to enjoin the

imposition of these costly tariffs, alleging violations of IEEPA and of the

Constitution. Pl. Amend. Compl. 22–32.

      In determining whether IEEPA authorizes the President to impose tariffs, this

Court must “determine the best reading” of the statute without deferring to the

Executive’s interpretation. Loper Bright Enters. v. Raimondo, 603 U.S. 369, 400

(2024).

      The Constitution vests the power to impose tariffs solely in Congress, U.S.

CONST. art. I, § 8, and the Cato Institute writes separately to provide historical

context regarding IEEPA’s purposes and the original understanding of Congress’s

constitutional authority to impose tariffs. For over a century, Congress exercised that

power directly and in exhaustive detail, even during times of war and economic

crisis. When Congress has chosen to delegate limited authority to the Executive to

vary tariffs, it has done so explicitly and with clear statutory language.

      The government’s reliance on IEEPA as a source of unilateral tariff authority

breaks with this tradition and misreads the statute. IEEPA contains no reference to

“tariffs” or “duties,” and no President had cited it to impose tariffs in the nearly 50

years since its enactment—until now. Congress knows how to grant tariff authority

when it chooses to, as it did in the Tariff Act of 1922, the Trade Expansion Act of

1962, and the Trade Act of 1974. IEEPA, by contrast, was enacted to limit executive


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power, not to expand it. Courts should not credit interpretations of vague statutory

text that, for the first time in decades, are “discovered” to confer vast economic

powers on the President.

      The government’s reading of IEEPA not only stretches the text beyond

recognition, it also undermines the Framers’ designs for a separation of powers.

Accepting the government’s theory would mean that Congress, through ambiguous

text and legislative silence, can transfer sweeping legislative power to the

President—a result the Supreme Court has warned against. “Courts expect Congress

to speak clearly if it wishes to assign to an agency decisions of vast economic and

political significance.” West Virginia v. EPA, 597 U.S. 697, 716 (2022) (cleaned up)

(quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)).

      The Constitution, IEEPA’s text, and over two centuries of history point in the

same direction: the tariff-setting power remains in the hands of Congress. The Court

should reject the government’s motion for transfer and grant Plaintiffs’ request for

injunctive and declaratory relief.

                                     ARGUMENT

I.    Historical Practice Confirms That Tariff-Setting Is a Nondelegable
      Legislative Power.

      The Constitution vests “[a]ll legislative powers” in the Congress. U.S. CONST.

art. I, § 1. These legislative powers include the exclusive authority to set tariff rates.

Id. § 8 (granting Congress the power “to lay and collect, taxes, duties, imposts and

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excises”). While early congressional practice is not dispositive, the practice of the

First Congress is probative of the original meaning of a constitutional provision. See,

e.g., Marsh v. Chambers, 463 U.S. 783, 790 (1983) (“An act ‘passed by the first

Congress assembled under the Constitution, many of whose members had taken part

in framing that instrument, . . . is contemporaneous and weighty evidence of its true

meaning.’”) (ellipses in original) (quoting Wisconsin v. Pelican Ins. Co., 127 U.S.

265, 297 (1888)).

      It is therefore notable that the second law ever enacted by Congress—and

signed by President George Washington—was a statute establishing detailed rates of

tariffs. Act of July 4, 1789, 1 Stat. 24. That law set detailed and exhaustive duties,

such as one cent per pound of brown sugars, fifty cents per pair of boots, and a 12.5%

ad valorem tax on all goods (except teas) imported from China or India. Id.

      For more than a century, Congress zealously guarded its power to set tariffs.

Tariff legislation followed a familiar pattern: Congress would repeal its previous

duties and replace them with new, specific rates and schedules. See, e.g., Tariff Act

of 1816, 3 Stat. 310; Tariff Act of 1832, 4 Stat. 583; Revenue Act of 1913, 30 Stat.

151. These statutes gave the President no discretion to modify duties. Where

Congress authorized the President to administer and enforce customs laws, it

carefully withheld any power to revise or adjust Congress’s detailed tariff schedules.




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      Even during the crisis of the Civil War, Congress retained exclusive control

over tariff rates. See Tariff Act of 1861, 12 Stat. 178. While Congress granted the

President considerable discretion to exercise his executive powers—like shutting

down whole ports held by rebel forces—it did not authorize him to alter tariff rates.

See id. Even in wartime, when rebel forces controlled American territory, Congress

did not concede its legislative tariff powers.

      In the late 19th and early 20th centuries, Congress began empowering the

Executive to negotiate trade agreements and selectively apply duties based on

foreign governments’ conduct. But even then, Congress retained the core legislative

function: it prescribed detailed duty schedules and permitted the President to activate

or suspend them only under certain conditions. For example, the Tariff Act of 1883,

22 Stat. 488, banned cattle imports unless the Secretary of the Treasury found them

free from disease. The Tariff Act of 1890, 26 Stat. 567, allowed the President to

suspend free trade agreements and impose congressionally-determined tariffs if

another nation’s duties on American goods were “unequal and unreasonable.” In

those cases, the President could not set new rates at will; he could only trigger duties

Congress had already prescribed. See id.

      In short, for at least the first century of the Republic, Congress consistently

set duty schedules and never relinquished its duty-setting power to the President.

Nor, as far as we can tell, did Presidents assert any inherent or emergency power to


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set tariff rates,2 even during wars, financial panics, and depressions. This unbroken

practice is important in determining the original meaning of a constitutional

provision and the best interpretation of IEEPA. See Marsh, 463 U.S. at 790; The

Pocket Veto Case, 279 U.S. 655, 689 (1929) (“Long settled and established practice

is a consideration of great weight in a proper interpretation of constitutional” issues

of separation of powers.).

      The reason for this longstanding practice is clear: Congress cannot vest duty-

setting power—a legislative power—with the President, just as Congress cannot vest

judicial power with the President or the Speaker of the House. See U.S. CONST. art.

III, § 1 (vesting the judicial power “in one supreme Court, and in such inferior Courts

as the Congress may from time to time ordain and establish”); J.W. Hampton, Jr. &

Co. v. United States, 276 U.S. 394, 406 (1922) (“[I]t is a breach of the National

fundamental law if Congress gives up its legislative power and transfers it to the




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  Strictly speaking, there are no “emergency powers”; there are only those powers
enumerated in the Constitution. The United States was founded during several
emergencies and the Framers knew this nation would face emergencies of all kinds.
See THE FEDERALIST NO. 23 (Alexander Hamilton) (noting that “it is impossible to
foresee or define the extent and variety of national emergencies . . . .”). The Framers
equipped the three branches of the U.S. government with enumerated powers to
handle those emergencies.

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President, or to the Judicial branch, or if by law it attempts to invest itself or its

members with either executive power or judicial power.”).3

II.   IEEPA Does Not Authorize the President to Modify Tariff Rates.

      The Supreme Court recently reaffirmed a “judicial practice dating back

to Marbury: that courts decide legal questions by applying their own judgment.”

Loper Bright, 603 U.S. at 391–91. The President’s interpretation of IEEPA is not

entitled to deference—rather, it is the duty of the courts to “determine the best

reading” of a contested statute. Id. at 400. The best reading of IEEPA is that it

provides the President no authority to unilaterally modify tariff schedules.

      A. IEEPA Provides No Textual Support for Tariff Authority.

      As this brief’s historical survey, supra, demonstrates, Congress knows how to

give the President discretion—with limits—to modify tariff rates. And Congress did

so, for instance, in the Tariff Act of 1922, the Trade Act of 1974, and the Trade

Expansion Act of 1962, the latter of which President Trump used in his first term

when modifying tariffs. See Pl. Amend. Compl. 11–12. It’s notable that in those


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  While modern practices are less probative in determining the original meaning of
Congress’s duty-setting power, more recent practices do not aid the President much.
Even in the early- and mid-20th century, when Congress authorized the President to
function as the principal actor in the formulation of trade policy, Congress
constrained his discretion by referencing objective—if sometimes vague or
contested—standards. See id. at 409–11 (affirming the constitutionality of the Tariff
Act of 1922, which authorized the Executive to vary tariffs to “equalize the . . .
differences in costs of production” between the United States and another nation, but
limited rate increases to 50% of existing rates).

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statutes, Congress expressly identified “duty” or “duties” modification as a

permissible policy tool for the President. See 19 U.S.C. § 2411(c)(1)(B) (permitting

the U.S. Trade Representative to “give preference to the imposition of duties over

the imposition of other import restrictions”); 19 U.S.C. § 1821(a) (permitting the

President to “enter into trade agreements” and “modif[y] . . . any existing duty”). In

contrast, the relevant provisions in IEEPA make no mention of “duty,” “duties,” or

“tariffs.” See 50 U.S.C. § 1702.

      This omission is fatal to the government’s strained interpretation. “Courts

expect Congress to speak clearly if it wishes to assign to an agency decisions of vast

economic and political significance.” West Virginia v. EPA, 597 U.S. at 716 (cleaned

up) (quoting Util. Air Regul. Grp., 573 U. S. at 324).

      The Supreme Court has also emphasized that Executive Branch

interpretations “issued contemporaneously with the statute at issue, and which have

remained consistent over time, may be especially useful in determining the statute’s

meaning.” Loper Bright, 600 U.S. at 394. A telling signal that the government’s

interpretation is unsound is that, nearly 50 years after IEEPA’s enactment, no

President invoked it to impose tariffs—until now. It appears the government would

have this Court believe that the President and his trade advisers, like Indiana Jones

in the Raiders of the Lost Ark, found a valuable artifact—an unconditional delegation

of legislative power—gathering dust in the depths of the U.S. Code. The Supreme


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Court has warned courts against rubber-stamping such Executive branch

“discoveries” of new authority in decades-old statutes. See Util. Air Regul. Grp., 573

U.S. at 324 (“When an agency claims to discover in a long-extant statute an

unheralded power to regulate ‘a significant portion of the American economy,’ . . .

we typically greet its announcement with a measure of skepticism.”) (quoting FDA

v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000)).

      This Court should reject the government’s argument that, after 150 years,

Congress silently transferred to the President most of its immense duty-making

powers through IEEPA’s ambiguous language.

      B. IEEPA’s Origins Confirm That Tariff Authority Remains with
         Congress.

      Finally, the government’s position runs contrary to the purposes of IEEPA. In

the 1970s, Congress undertook a long-overdue effort to rein in Presidents’ unilateral

actions in foreign trade and transactions. See Michael H. Salsbury, Presidential

Authority in Foreign Trade: Voluntary Steel Import Quotas from a Constitutional

Perspective, 15 VA. J. INT’L L. 179, 186 (1974) (“Since 1934, the President’s

authority to impose restrictions on foreign trade has been significantly curtailed by

statute.”). Congress codified IEEPA in 1977 to clarify and limit the executive branch

powers that had metastasized under IEEPA’s predecessor, the Trading with the

Enemy Act of 1917. See Gov’t Motion to Transfer 15; Note, The International



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Emergency Economic Powers Act: A Congressional Attempt to Control Presidential

Emergency Power, 96 HARV. L. REV. 1102, 1102 (1983).

      Originally, Section 5(b) of the Trading with the Enemy Act of 1917 granted

the President authority over Americans’ transactions with foreign nationals only

during wartime.4 But within days of taking office, President Franklin Roosevelt

unilaterally invoked Section 5(b) in peacetime to respond to bank failures and the

Depression.5 A few days later, Congress ratified those actions and greatly expanded

the scope of the President’s powers under Section 5(b) to peacetime “emergencies”

and transactions with any foreign citizen, ally or enemy. See Act of March 9, 1933,

48 Stat. 1, 1–2. Congress amended the Act again in the early days of war in

December 1941, going so far as to confer authority to the President to prescribe the

operative definitions within the Act. Act of Dec. 18, 1941, 55 Stat. 839, 839–40;

codified at 50 U.S.C. 4305(b)(3).

      The Trading with the Enemy Act became (and, though amended, still is) an

immensely powerful law, enabling Presidents to exercise sweeping, and at times




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  See Stoehr v. Wallace, 255 U.S. 239, 242 (1921) (“The Trading with the Enemy Act
. . . is strictly a war measure, and finds its sanction in the constitutional provision,
Art. I, § 8, cl. 11, empowering Congress ‘to declare war, grant letters of marque and
reprisal, and make rules concerning captures on land and water.’”).
5
 Oct. 6, 1917, ch. 106, § 5, 40 Stat. 415, codified, as amended, at 50 U.S.C. § 4305.
See The International Emergency Economic Powers Act, supra, at 1102.

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authoritarian, powers. In the 1930s, the law was used to place banks under the

supervision of the federal government and prohibit them from paying out gold to

bank customers (the so-called “bank holiday”),6 to compel all Americans to

surrender all of their gold and gold certificates to their nearest bank,7 and to impose

national regulation of consumer credit in order to curb inflation.8 The Roosevelt

administration even invoked the Trading with the Enemy Act in wartime to censor

all news, mail, and communications from abroad—including “[r]umors which might

render aid and comfort to the enemy” and “[a]ny other matter whose dissemination

might directly or indirectly . . . disparage the foreign relations of the United States

or the United Nations.” Office of Censorship, U.S. Censorship Regulations, 8 Fed.

Reg. 1644–46 (Feb. 5, 1943).

        Later Presidents used the Trading with the Enemy Act in trade policy. In his

final days in office in 1968, President Lyndon Johnson issued an executive order to

halt and supervise capital transfers abroad in order to improve the nation’s “balance

of payments position.” Governing Certain Capital Transfers Abroad, Exec. Order

11387 (1968). His successor, President Nixon, relied on the Act in August 1971 to



6
    Reopening Banks, Exec. Order No. 8773 (1933).
7
 Forbidding the Hoarding of Gold Coin, Gold Bullion and Gold Certificates, Exec.
Order No. 6102 (1933).
8
    Exec. Order No. 8843 (1941).

                                          12
impose a 10% tariff on imports to improve America’s balance of payments as the

U.S. withdrew from the gold standard. Imposition of Supplemental Duty for Balance

of Payments Purposes, Proclamation 4074 (Aug. 15, 1971).9

      In response to these unilateral actions in trade policy, Congress moved to

clarify and restrict presidential authority. In the Trade Act of 1974, Congress

provided express and narrow authority to address balance-of-payments issues in

trade. See 19 U.S.C. § 2132. Three years later, Congress passed IEEPA to constrain

the President further. As one contemporaneous account explained, IEEPA’s “primary

purpose . . . [was] to revise the Trading With the Enemy Act of 1917 (TWEA), and

thus to restrict presidential authority to respond to emergencies related to

international economic transactions.” Mary M.C. Bowman, Presidential Emergency

Powers related to International Economic Transactions, 11 VAND. L. REV. 515, 515

(1978).

      It is thus ironic—and legally untenable—for a President to invoke IEEPA for

tariff-setting authority that no President has ever exercised. Even President Franklin



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 Those tariffs were terminated by proclamation three months later. Termination of
Additional Duty for Balance of Payments Purposes, Proclamation 4098 (Dec. 20,
1971). The United States Court of Customs and Patent Appeals held that the
imposition of duties was a valid exercise of the authority delegated to the President
by section 5(b) of the Trading with the Enemy Act (TWEA). See United States v.
Yoshida Int’l, Inc., 526 F.2d 560 (Ct. Cust. and Pat. App. 1975); Alcan Sales v. United
States, 534 F.2d 920 (Cust. and Pat. App. 1976), cert. denied, 429 U.S. 986 (1976).

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Roosevelt—who had an expansive theory of presidential power and was President

during economic depression and a global war—never used IEEPA’s more powerful

predecessor, the Trading with the Enemy Act, to modify tariffs. Courts should not

require Congress to play legislative whack-a-mole and respond specifically to every

claimed emergency a President might cite to usurp Congress’s powers. The text of

the Constitution is clear that duty-setting is a legislative power, and the history of

tariffs and “emergency power” legislation like IEEPA shows that Congress provided

no authority to the President to unilaterally impose tariffs.

                                   CONCLUSION

      For the foregoing reasons, amicus requests the Court deny the government’s

motion to transfer and grant Plaintiffs’ request for injunctive and declaratory relief.

                                                      Respectfully submitted,


                                                      /s/ Thomas A. Berry
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May 12, 2025

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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 12, 2025, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which will cause it to

be served on all parties and counsel of record.

                                              /s/ Thomas A. Berry
                                              Thomas A. Berry
                                              Counsel for Amicus Curiae the Cato
                                              Institute

                    LOCAL RULE 7.1(F) CERTIFICATION

      I certify that this memorandum contains 3,191 words, per Microsoft Word’s

word count, which complies with the word limit requirements set forth in Local Rule

7.1(F).

                                              /s/ Thomas A. Berry
                                              Thomas A. Berry
                                              Counsel for Amicus Curiae the Cato
                                              Institute




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